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                                                                           USDC-SDNY
UNITED STATES DISTRICT COURT                                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                              ELECTRONICALLY FILED
                                                                           DOC#:
                                                                           DATE FILED: 10/19/2021
 ALROY RICHARDS,

                               Plaintiff,
                                                                        20-CV-3348 (RA)
                          v.
                                                                             ORDER
 CITY OF NEW YORK, et al.,

                               Defendants.



RONNIE ABRAMS, United States District Judge:

         On October 18, 2021, the Court held a telephonic status conference in this case. As agreed

upon in that conference, Plaintiff may file an amended complaint no later than November 29, 2021.

The City may a file a motion to dismiss that complaint no later than December 20, 2021. Plaintiff

may file an opposition to the City’s motion to dismiss no later than January 7, 2022.

         The Clerk of Court is respectfully directed to mail a copy of this Order to Plaintiff.

SO ORDERED.

Dated:      October 19, 2021
            New York, New York

                                                    RONNIE ABRAMS
                                                    United States District Judge
